Case: 1:18-cv-02387 Document #: 21 Filed: 06/08/18 Page 1 of 3 PageID #:307
               Case: 1:18-cv-02387 Document #: 21 Filed: 06/08/18 Page 2 of 3 PageID #:308

AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        NorthernDistrict
                                                    __________   Districtofof__________
                                                                              Illinois

                          Sunil Bhatia
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )
                                                                            Civil Action No. 18 cv 2387
                         Raju Vaswani
                                                                    )
                 Defendant, Third-party plaintiff
                                                                    )
                                v.                                  )
                Varsha Bhatia, an individual
                      Third-party defendant
                                                                    )

                                         SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant’s name and address) Varsha Bhatia, 31 Baker Lane, Naperville, Illinois 60565




         A lawsuit has been filed against defendant Raju Vaswani                 , who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff Sunil Bhatia                     .

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:
 Thomas A. Christensen, HUCK BOUMA PC 1755 S. Naperville Road, Suite 200, Wheaton, Illinois 60189



         It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:
  Michael I. Leonard, LEONARDMEYER, LLP, 120 N. LaSalle Street, Suite 2000, Chicago, Illinosi 60602


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.




   THOMAS G. BRUTON, CLERK

                                                                                             May 31, 2018
   (By) DEPUTY CLERK                                                                         DATE
                Case: 1:18-cv-02387 Document #: 21 Filed: 06/08/18 Page 3 of 3 PageID #:309

AO 441 (Rev. 07/10) Summons on Third-Party Complaint (Page 2)

 Civil Action No. 18 cv 2387

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                          .

          ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                        , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                           ; or

          ’ I returned the summons unexecuted because                                                                                 ; or

          ’ Other (specify):
                                                                                                                                           .

           My fees are $                          for travel and $                   for services, for a total of $          0.00          .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                              Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                Add Attachment                                               Reset
